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                       HO-13865

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           371307- HQ
                    1/27/2022 10:17 AM



                     Full-size Transcript

                        Prepared by:


                          HO-13865

                    Tuesday, June 06, 2023
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 1   THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION

 2

 3   In the Matter of:            )

 4                                )   File No. HO-13865-A

 5   BINANCE.US                   )

 6

 7   WITNESS:   Catherine Coley

 8   PAGES:     1 through 199

 9   PLACE:     Securities and Exchange Commission

10              100 F Street, N.E.

11              Washington, D.C. 20549

12   DATE:      Thursday, January 27, 2022

13

14        The above-entitled matter came on for hearing, via

15   WebEx, pursuant to notice, at 10:17 a.m.

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22

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24           Diversified Reporting Services, Inc.

25                  (202) 467-9200



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 1   this isn’t coming from Mr. Zhou.    I’m a little worried

 2   that I think the question we have or the -- the answer

 3   to the question is that she had discussions with Mr.

 4   Zhao about it.   And then asking about her understanding,

 5   just to be clear that we’re not sort of incorporating

 6   things that Mr. Zhou had told or Mr. Robins after Mr.

 7   Zhou.

 8             MS. HITCHINS:   I’ll take you up on your

 9   suggestion.   Jamie, thank you.

10             BY MS. HITCHINS:

11        Q    So, we were talking -- the first question was

12   asking what was your initial understanding about what

13   the service agreements were supposed to cover or

14   intended to cover, and you gave a response.    What was

15   the basis for your understanding?

16        A    As I kind of mentioned, the concept of

17   licensing the technology was what I was aware of, and

18   then I relied on legal counsel to properly paper and

19   document what it was that we needed to document in order

20   to allow that to happen and take place.    So, that was

21   purely legal crafting and putting together the proper

22   documents required to allow us to operate a platform

23   using technology of someone else.    And I say technology

24   loosely encompassing all four of the service agreements

25   underneath that wing of technology.



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 1        Q    In terms of what -- your understanding of what

 2   was intended by the agreement to not cover if you can

 3   answer without revealing the content of privileged

 4   communications?

 5        A    Anything in my opinion outside of the

 6   technology was for us to build out on my own and for BAM

 7   going forward, so initially I came from a service-

 8   oriented background, and I understood that the way I

 9   treated my clients and the way that I interacted with

10   U.S. persons would lead me to be putting a customer

11   centric focus for our business.   And so, I wanted our

12   customer support and our client coverage to be BAM

13   originated and built out, and as we built that out, we

14   took some of those services which were originally

15   outlined and no longer relied on dotcom’s team to

16   provide those services.   That’s an example of one of the

17   areas where BAM was responsible for building those out,

18   and that was something that I thought would be additive

19   to our platform having a U.S. centric support and sales

20   coverage team.

21             Other aspects that were kind of outside of the

22   technology were the representation, the culture inside

23   of the company, that Binance.US had among its employees.

24   The employee kind of recruiting process and interview

25   process of how we would conduct ourselves was outside of



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 1   the licensing agreements as well.    Those are a couple of

 2   the examples, but there’s -- it was really quite easy

 3   for me to see.    And anything where we had to rely on

 4   someone that was outside of the team that I brought on,

 5   which initially was legal compliance, customer support,

 6   eventually HR and finance roles, and risk roles

 7   eventually, those were all initially part of the

 8   agreement that we could rely on.    And we continued to

 9   kind of minimize the amount of services that we would

10   need to rely on for sake of any company not wanting to

11   have an enormous dependency.    We would continue to push

12   for independence from those resources overseas because

13   it would make us a stronger business, and we’d be able

14   to have more flexibility addressing our users that were

15   based in the United States.

16        Q      So, something I want to pick up on in what you

17   just said, you know you had mentioned sort of areas such

18   as risk, HR.    I believe finance, perhaps another

19   category or two, as being covered by the agreements, the

20   four service agreements, but that you wanted to

21   minimize.    Is that accurate over time?

22        A      Right.   So, the agreements covered -- I think

23   it mentions the customer support functionality that we

24   eventually brought over to be solely operated and

25   managed by the U.S. team, and that was largely because



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 1   of the language discrepancies.      The times to which our

 2   customers were meeting responses were different based on

 3   using the services that were initially covered in those

 4   agreements.

 5        Q      So, you’re understanding was that risk, and

 6   HR, and finance were covered by the four service

 7   agreements?

 8        A      Correct.

 9        Q      Is that based on reading the agreements

10   themselves or was that from conversations that you had

11   with counsel or other people?

12        A      Conversations with counsel and as well as

13   reviewing the Master Services Agreement.

14        Q      Okay.    And then one thing you may have

15   mentioned was that you considered outside or not covered

16   by the four service agreements something with

17   regulation.    Is that something you were saying?      Could

18   you just elaborate on that?

19        A      Right.

20               MR. MCDONALD:    And just one more reminder if

21   that’s -- sometimes the question is asking for your

22   understanding, and then the question is what’s the basis

23   for that.    So, I think the last one was a good example

24   where you offered an understanding, and the basis was at

25   least in part counsel.      We really need to separate the



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 1        Q     So, when BAM Trading began opening user

 2   accounts for its platform in September of 2019, the four

 3   service agreements were unsigned then.    Is that correct?

 4        A     I don’t recall if there had been a prior

 5   version that had been signed.   The one I recollect and

 6   the on that I had seen with you was the January 2020

 7   signature.

 8        Q     Okay.   So, to your knowledge, there weren’t

 9   any signed versions that you signed?

10        A     I don’t recall if I had signed a prior version

11   or if one had been signed by me but never was completed,

12   so I don’t recall if there had been a previous version

13   of that.

14        Q     When did BAM Trading start using any of

15   Binance Holding’s services?

16        A     Upon my first week when I went to Shanghai and

17   began corresponding with -- well, I should specify.     I

18   began workshopping with members of dotcom that would

19   come and be underneath the service level agreements, and

20   this was all conceptual.   This was nothing yet where we

21   were live with the technology, so that started early on

22   kind of leveraging their resources and understanding of

23   how they built dotcom and to interpret how that would

24   impact running and launching Binance.US.

25        Q     So, BAM did start using Binance Holding’s



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 1   services as early as June 2019 to your knowledge?

 2        A    As services being discussions with the teams

 3   and beginning laying out of what it would take, but we

 4   hadn’t used the matching engine until the trading

 5   platform went live in September 2014 -- 24 of 2019.

 6        Q    Were there any term sheets for the four

 7   service agreements prior to the drafting of the

 8   agreements?   Are you aware of any?

 9        A    Not that I’m aware of.     The first versions of

10   these SLAs I received from Harry, and that was early

11   into us building this out.

12        Q    Do you ever understand if there was any

13   impediment that prevented BAM Trading and Binance

14   Holdings from signing the four service agreements until

15   January 2020?

16             MR. MCDONALD:    Excluding anything that you

17   would’ve -- excluding anything that would constitute

18   legal advice.

19             THE WITNESS:    Right.   I think any of the --

20   the sequence of timing and signatures was conducted by

21   our legal counsel and determined by them, so I don’t

22   think I can respond there.

23             MS. ROSENFIELD:    Ms. Coley, if I may,

24   sometimes you say our legal counsel, and I’m not sure

25   who you’re talking about.    So, if it’s Harry Zhou, can



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 1   you tell us?     And if it’s Chris Robins, can you tell us?

 2   So, now if you would kindly, you said you couldn’t

 3   respond because it involved your legal counsel.     Can you

 4   tell us which one?

 5              THE WITNESS:   Thank you for asking me to

 6   clarify.   I understand our is confusing to understand.

 7   So, Harry was counseling me on the initial months of

 8   these SLAs.    I wasn’t going to sign them or complete

 9   them until I had Chris look over them and review them,

10   and then it was Chris’s responsibility to determine when

11   were ready to sign those.

12              BY MS. ROSENFIELD:

13        Q     So, I have a few follow-up questions here.

14   So, when the platform went live in September, do you

15   remember having signed service agreements?

16        A     No.    I don’t remember having signed service

17   agreements at that time, but I do remember having seen

18   the service agreements.    And I don’t know if they were

19   in their final form at that moment.

20        Q     Okay.   And you’re aware that there were signed

21   service agreements later on in I believe January of

22   2020.

23        A     Yes.    That’s correct.

24        Q     So, between the time that the company went

25   live in January 2020, you can’t tell us whether the



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 1   company had an executed service agreement with its

 2   counterparty?

 3        A    Correct.   I don’t know if we had an executed

 4   service agreement with our counterparty between the

 5   time.

 6             MS. ROSENFIELD:    Thank you.

 7             BY MS. HITCHINS:

 8        Q    After the four service agreements were signed,

 9   were there any changes in the relationship or course of

10   dealing between BAM Trading and Binance Holdings?

11        A    I mentioned this a little bit when describing

12   some of the services that we relied on initially that we

13   over time operated solely out of the U.S.     That would be

14   a couple of the instances where those service agreements

15   were broader than what we needed at that time.     So,

16   customer support is mentioned in the Master Services

17   Agreement, and that eventually became solely operated by

18   Binance.US and a team in the U.S.    And other components

19   we continued to try to rebuild on our own in the U.S.

20   that were kind of chipping away at the service level

21   agreement, but many of the components still remained

22   intact until my departure such as matching engine.

23        Q    Okay.   Are you familiar with the enhancement

24   work orders that were contemplated or their provisions

25   for them under the Master Services Agreement?



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 1        A     In reviewing those documents for this

 2   conversation or testimony with you, I did see the

 3   enhancement documents, but I did not recollect the

 4   nuances of those from prior.

 5        Q     So, did BAM Trading during your tenure ever

 6   submit any enhancement work orders?

 7        A     I did not.   I had direct contact with the

 8   members that I needed to enhance specific functions and

 9   so would so in a faster way of requests.     I don’t recall

10   putting those enhancement orders through.

11        Q     Could someone else, one of your reports, have

12   submitted those enhancement work orders without your

13   knowledge?

14        A     I wouldn’t know if they did if they did it

15   without my knowledge.

16        Q     Are you familiar with the Master Service

17   Agreements provisions regarding access to confidential

18   information and sharing of confidential information

19   between parties?

20        A     Did you say the Master Service or across all

21   of them?

22        Q     I’m talking about the Master Services

23   Agreement.

24        A     I’d like to review the document and point out

25   specifically what you’re asking if that’s the case.



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 1   routes.   So the website that we designed was stripped of

 2   many of the pop-ups and moving parts and simplified and

 3   provided there.   That's when introducing one-click

 4   buy/sell was obviously a very useful component for the

 5   U.S. and for the sophistication level of the U.S.

 6   participants.

 7              I did feel like because those limits were

 8   quite small, a good portion of our users were looking

 9   for a purchase of digital assets around the 50,000 mark,

10   that would size them out of the one-click buy/sell, and

11   they wouldn't be sophisticated enough to use the order

12   book.    So that's where OTC made sense to incorporate.

13              But my Reliance was more on the consistency

14   and making sure that we had, you know, a fast platform

15   that worked for our users, and would have minimal

16   downtime or bugs that would pop up.    And that's what we

17   kind of kept it simple as we could because the U.S.

18   audience wasn't looking for a highly distracting

19   interface.

20        Q     When you're answering the question, were you

21   thinking more of migrating personnel?

22        A     No.   I interpreted the question before as to

23   what tech components I wanted to see built out in the

24   U.S. product.    The personnel that I worked with

25   initially, and the personnel that I eventually brought



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 1   over to BAM's side and brought on as contractors, was a

 2   group that would be nimble enough to take on new tech

 3   build-outs that we were looking for, and be versatile

 4   enough to accommodate the new aspects of the business.

 5             If there were technology advancements on the

 6   dot-com side that the knowledge base did not include

 7   those members of the BAM team, there may be some

 8   information shared from a tech lead to educate them on

 9   how to build it.    But our engineers were specific to BAM

10   at that time.   And so we were --

11        Q    What --

12        A    --limited in what we could build due to the

13   technical knowledge of our team that we had on BAM's

14   side.

15        Q    In terms of you know your views about

16   migration, were any sort of more components of the

17   platform that were not user-facing contemplated as well

18   for the migration that you viewed as important for the

19   migration?

20        A    Can you just clarify the migration that you're

21   referencing?

22        Q    Yeah, we were talking about the migration of

23   some BAM Trading technology from overseas to the United

24   States.   Was any technology more backend or was -- in

25   your view, was that, you know, something that you wanted



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 1   to accomplish?

 2        A    As we -- as I was building out my team in the

 3   U.S., and getting familiar with the technology

 4   components that we had, that we relied on dot-com for

 5   the support and maintenance of abroad, there was --

 6   there were categories of elements that I wanted to have

 7   full independence from.   I wanted full independence of

 8   everything, but that wouldn't necessarily be possible or

 9   be possible at that time, given our reliance on some of

10   those components.

11             But the departments in the areas where we did

12   want that independence as quickly as we could would --

13   it started off with customer support.    We're looking to

14   get as much finance and clearing and settlement in the

15   U.S., given that's a 24/7 job that's required for our

16   users.   And we need that real-time ability to respond to

17   users quickly.

18             The wallet and custody was one that I wanted

19   to have, at least U.S. participation in so that we would

20   have control over the custody of the tokens.     And the

21   data was one that I wanted custody of the data and

22   ability to interact with the raw data in real-time, as

23   to my directions, not waiting on someone else's

24   approvals.

25             The components on the tech side product ideas,



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 1   there was an amount of innovation that we were allowed,

 2   but there was also an enormous amount of products that

 3   we hadn't incorporated yet.   And so for us to make a net

 4   new technology advancement on the BAM side was not as

 5   well-received as just completing the list of products

 6   that we hadn't incorporated yet.

 7             So I was looking to have an engineering team

 8   in the U.S. so that we could have net new advancements.

 9   For instance, a tax service and an easy tax procedure is

10   very specific to the U.S.   And so that would be

11   something that we would need net built new.     And so

12   those were some of the kind of frictions I would have.

13             The other components outside of a tech team,

14   the design team I wanted to be able to have real-time

15   designs for either our marketing or updating of our

16   website, updating of our app.    And so we were able to

17   bring over the design with Pascal.    But then other

18   elements being kind of the support functions for our

19   DevOps.

20             So DevOps was a team that would be internal

21   only-facing and critical for us to get bugs fixed and

22   elements tuned to kind of a like the firemen of our

23   team.   So those are all the components that I sought to

24   bring over.   Some of those I accomplished.    Some of

25   those I didn't.



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 1               And every time that I would feel defeated on

 2   one, I would aim for another and continue to keep

 3   pushing for that level of independence such that we

 4   could operate in the vision that I had for the business.

 5   And from a business perspective side, I felt like I had

 6   the support I needed to grow and build the business and

 7   the success was apparent for that.

 8        Q      I can really hear your passion on this topic.

 9   Not to cast any sort of negative light on it, but to

10   focus on where you were getting pushback, you know, what

11   were the areas of this plan and your vision, where were

12   you getting pushback, and who was giving you the

13   pushback?

14        A      The kind of the major components of pushback

15   outside of the -- I will back up.    A couple of major

16   pain points up at front, and then I will break them down

17   as to how we were able to overcome or how we weren't

18   able to overcome.

19               The codebase that was used and the engineers

20   that were used to build out the platform, the majority

21   of the codebase was in Chinese so that presented a high

22   level of difficulty for a Western- and U.S.-based

23   engineering team to come in and begin building and

24   maintaining and updating the codebase.

25               Certainly, there is plenty of talent that is



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 1   bilingual.   But the cultural combination is a huge part

 2   of building a team, so.   And that is kind of -- that was

 3   an immediate difficulty for us bringing the engineering

 4   team over was just the language aspect of it, and it's

 5   how integrated that was to the tech.

 6               I say that integrated to the tech, that's some

 7   parts of the tech.   Other parts of the tech were -- I

 8   don't know the language that they were written in, other

 9   than Rust.   But Rust is a computer language, not a

10   country language.    So that was a pushback initially on

11   the engineering team was that was our difficult pain

12   point.

13               The other aspects of the -- the data and the

14   finance were the two most difficult ones to bring over

15   to the U.S., and the data was -- had a significant

16   opacity to it.   And I did not get answers from CZ on why

17   or how or what we would need to do to be able to bring

18   the data over.

19               And then on the finance side, we were able to

20   bring over the signatories of our bank accounts so that

21   it was Josh and I.   But the clearing and settlement

22   teams we were not able to hire the adequate persons for

23   operating those functions in the U.S. by the time that I

24   had left.    So we had job descriptions out and interviews

25   conducted to be able to bring the clearing and



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